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                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF GEORGIA

UNITED STATES OF AMERICA                       )
For the use and benefit of                     )
KUDZUE 3 TRUCKING, INC., and                   )
KUDZUE 3 TRUCKING, INC.,                       )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             )
                                               )   Civil Action No. ________________
UNITED STATES SURETY COMPANY,                  )
d/b/a TOKIO MARINE HCC,                        )
UNITED STATES SPECIALTY                        )
INSURANCE COMPANY d/b/a                        )
TOKIO MARINE HCC, and                          )
DTH CORPORATION,                               )
                                               )
       Defendants.                             )

                                        COMPLAINT

       Plaintiff United States of America, for the use and benefit of Kudzue 3 Trucking, Inc.,

(“Kudzue”) sues Defendants United States Surety Company d/b/a Tokio Marine HCC and United

States Specialty Insurance Company d/b/a Tokio Marine HCC (together, “Tokio”) and Defendant

DTH Corporation (“DTH”). In support, Kudzue states as follows:

       1.     Kudzue performed paving services on federal property, specifically, the Moody Air

Force Base in Valdosta, Georgia (the “Property”). DTH was the general contractor for the project

and hired Kudzue to perform the services; Tokio issued a bond guaranteeing payment. Kudzue is

owed $90,686.17, exclusive of interest, attorneys’ fees, and costs. As such, Kudzue made a claim

under the bond to Tokio, but Tokio did not honor the claim. DTH incorrectly claims that
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$57,682.09 is owed, but DTH and Tokio have failed to pay even that lesser sum. This lawsuit

seeks recovery of all amounts owed to Kudzue.

                                 JURISDICTION AND VENUE

        2.      Plaintiff Kudzue is incorporated in Florida and has its principal place of business

in Georgia. Kudzue is a citizen of Florida and Georgia for diversity purposes.

        3.      Defendant United States Surety Company is incorporated in Maryland and has its

principal place of business in Maryland. Defendant United States Surety Company is a citizen of

Maryland for diversity purposes.

        4.      Defendant United States Specialty Insurance Company is incorporated in Texas

and has its principal place of business in Texas. Defendant United States Specialty Insurance

Company is a citizen of Texas for diversity purposes.

        5.      Defendant DTH is incorporated in Virginia and has its principal place of business

in Virginia. Defendant DTH is a citizen of Virginia for diversity purposes.

        6.      The amount in controversy exceeds $75,000, exclusive of costs and interest.

Specifically, in this lawsuit, Kudzue seeks $90,686.17 for unpaid services, exclusive of attorneys’

fees, costs and interest.

        7.      As the parties are diverse and the amount in controversy requirement is met, this

Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332.

        8.      Further, this Court has federal question jurisdiction under 28 U.S.C. § 1332, as

Kudzue seeks recovery from Tokio under 40 U.S.C. § 3131, et seq., commonly known as the Miller

Act.

        9.      Venue is proper in the Middle District of Georgia pursuant to 40 U.S.C. § 3133(3),

in that Kudzue’s contract was to be performed on the Property, which is located in the Middle

District of Georgia.

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       10.      Additionally, venue is proper in the Middle District of Georgia pursuant to 28

U.S.C. § 1391(b), in that a substantial part of the events or omissions giving rise to the claim

occurred in the Middle District of Georgia, and the Property that is the subject of the action is

situated in the Middle District of Georgia.

                                 GENERAL ALLEGATIONS

       11.     On July 31, 2017, Tokio issued Payment Bond Number 1001081269 (the “Bond”).

DTH was the contractor on the project and principal on the Bond. Under the Bond, Tokio jointly

and severally guaranteed DTH’s payments to its subcontractors on the Property.

       12.     DTH retained Kudzue as a subcontractor to provide paving services on the

Property. The scope of those services changed throughout the project, and were reflected by a

number of change orders and proposals.

       13.      In total, Kudzue contracted with DTH to provide $413,348.75 in services to the

Property.

       14.     Due to price reductions, Kudzue invoiced $394,382.75 for its services.

       15.     Kudzue last supplied labor on the Property on or about August 13, 2020.

       16.     In total, DTH only paid Kudzue $303,696.58, leaving a balance owed of

$90,686.17.

       17.     Kudzue made a timely claim on the Bond for $90,686.17, but Tokio failed to pay

the amounts owed.

       18.     Under the Proposal and Contract Add-Ons submitted by Kudzue and signed by

DTH, DTH agreed that if Kudzue “employs an attorney to enforce any provision of [DTH’s]

contract or invoice . . . or to collect any payment due to Kudzue 3 Trucking, Inc. from [DTH],




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whether or not suit is instituted, Kudzue 3 Trucking, Inc. will be entitled to recover from [DTH]

all costs and expenses incurred, including a reasonable attorney’s fee.”

       19.     The Proposal and Contract Add-Ons signed by DTH provided that “[i]f the balance

is not paid by the 60th day from the invoice date, interest will accrue on that unpaid amount at the

highest rate allowable by Florida law,” which is 18% per annum.

       20.     Kudzue has retained the undersigned law firm and is obligated to pay its attorneys

a reasonable fee for the services rendered on its behalf.

       21.     All conditions precedent with bringing this lawsuit have been met by Kudzue or

waived by Tokio and DTH.

                                             COUNT I

                                   BREACH OF CONTRACT
                                    (By Kudzue against DTH)

       22.     Kudzue re-alleges paragraphs 1 through 21 as if fully restated herein.

       23.     Kudzue and DTH had a valid contract.

       24.     DTH materially breached the contract by failing to pay all amounts owed to

Kudzue.

       25.     Kudzue was damaged as a result of DTH’s breach.

       WHEREFORE, Kudzue requests entry of a judgment for damages against DTH, including

prejudgment interest, postjudgment interest, costs, attorneys’ fees under the Proposal and Contract

Add-Ons, interest at a rate of 18% per annum under the Proposal and Contract Add-Ons, and any

other relief this Court deems proper.




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                                            COUNT II

                                     QUANTUM MERUIT
                         (By Kudzue against DTH; Alternative to Count I)

       26.      Kudzue re-alleges paragraphs 1 through 25 as if fully restated herein.

       27.      Kudzue performed as agent services valuable to DTH.

       28.      Kudzue performed the services either at the request of DTH or DTH knowingly

accepted the services.

       29.      DTH’s receipt of the services without compensating Kudzue would be unjust.

       30.      Kudzue expected compensation at the time of rendition of services.

       WHEREFORE, Kudzue requests entry of a judgment for the value of the services provided

against DTH, including prejudgment interest, postjudgment interest, and any other relief this Court

deems proper.

                                           COUNT III

                                 UNJUST ENRICHMENT
                   (By Kudzue against DTH; Alternative to Counts I and II)

       31.      Kudzue re-alleges paragraphs 1 through 30 as if fully restated herein.

       32.      Due to DTH’s failure and refusal to pay for the labor and services provided by

Kudzue, DTH has been conferred a benefit constituting unjust enrichment, for which DTH should

compensate Kudzue.

       33.      As a matter of equity, DTH should pay to Kudzue the amount by which DTH has

been unjustly enriched.

                                           COUNT IV

                              VIOLATION OF MILLER ACT
                    (By United States of America for the use and benefit of
                        Kudzue, against Tokio, jointly and severally)

       34.      Kudzue re-alleges paragraphs 1 through 33 as if fully restated herein.

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            35.     Tokio issued the Bond.

            36.     Kudzue was a subcontractor on the Property.

            37.     Kudzue supplied labor and materials per its subcontract with DTH.

            38.     Kudzue is unpaid for the labor and materials supplied per its subcontract with DTH.

            39.     Kudzue had a good faith belief that the labor and materials supplied were for

purposes of the project secured by the Bond.

            40.     Kudzue satisfied all jurisdictional requirements in bringing this Miller Act payment

bond claim.

            WHEREFORE, Kudzue requests entry of a judgment for damages against Tokio, jointly

and severally, including prejudgment interest, postjudgment interest, costs, attorneys’ fees under

the Proposal and Contract Add-Ons, interest at a rate of 18% per annum under the Proposal and

Contract Add-Ons, and any other relief this Court deems proper.

            Respectfully submitted this 16th day of April, 2021.

                                                  /s/Brooke W. Gram
                                                  Brooke W. Gram
                                                  Georgia Bar No. 810901
                                                  BALCH & BINGHAM LLP
                                                  30 Ivan Allen Jr. Blvd. N.W., Suite 700
                                                  Atlanta, GA 30308
                                                  Telephone: (404) 261-6020
                                                  Facsimile: (404) 261-3656

                                                  Charles Brumby*
                                                  Florida Bar No. 084054
                                                  HOMER BONNER
                                                  1200 Four Seasons Tower
                                                  1441 Brickell Avenue
                                                  Miami, Florida 33131
                                                  Telephone: (305) 350-5120
                                                  Facsimile: (305) 372-2738
                                                  *Pro hac vice application pending

                                                  Attorneys for Kudzue 3 Trucking, Inc.


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